
Turley, J.
delivered the opinion of the court.
Prisoner was indicted in the circuit court of Hardin for the crime of murder. The jury found him guilty of manslaughter, without negativing the murder, and it is insisted that this is erroneous. Blackstone is cited as authority for the proposition: he says “that one indicted formurder, may be acquitted of the murder, and found guilty of manslaughter.”
*26We do not think that this was intended to mean, that the jury must return a verdict of not guilty, as to the murder, before the return of guilty of manslaughter; but that a prisoner might be found guilty of manslaughter, although indicted for murder and not for manslaughter.
The prisoner will be in no danger of being again arraigned for the murder; having been once indicted therefor, and having been punished for the offence as manslaughter, he stands forever acquitted of the murder, as the law provides that no man shall be punished twice for the same offence.
Judgment affirmed.
